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                         UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


     CITY OF NEW ORLEANS                              CIVIL ACTION
     VERSUS                                           NO: 19-8290
     APACHE LOUISIANA MINERALS ET                     SECTION: "S"
     AL.

                                ORDER OF RECUSAL

          Because of a potential conflict of interest, I hereby recuse

     myself and order that the case be reallotted.
                                          26th
          New Orleans, Louisiana, this           day of April, 2019.



                     ____________________________________
                             MARY ANN VIAL LEMMON
                         UNITED STATES DISTRICT JUDGE
st         4/26/19
          2/15/05
